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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


ANTHONY MEDINA

              Petitioner,
                                                         Civil No. 05-70651
vs.                                                      Criminal No. 90-80594

UNITED STATES OF AMERICA                                 HON. GEORGE CARAM STEEH

              Respondent,

__________________________/

ORDER SUSPENDING PAYMENT OF RESTITUTION (CIVIL NO. 05-70651, DOC. NO.
   732), DENYING § 2255 PETITION (CIVIL NO. 05-70651, DOC. NO. 737) AND
                DENYING CERTIFICATE OF APPEALABILITY

       Petitioner Anthony Medina filed a motion with this court seeking to amend his

sentence arising out of his 1991 conviction for multiple counts of involvement in a drug

conspiracy involving cocaine. For the reasons stated below, the § 2255 petition is

DENIED.

       This petition to vacate was filed pursuant to 28 U.S.C. § 2255. This section of the

code requires that all motions to vacate be filed within one year of the final judgment of

conviction. However, in instances in which the Supreme Court has recognized a new

right which was originally denied to a petitioner, the statute of limitations for a § 2255

petition will not begin to accrue until the date of the relevant Supreme Court decision so

long as the Court indicates the appropriateness of applying that decision retroactively.

       In the present case, Petitioner’s final judgment was issued on May 10, 1996. In

order to avoid having his petition barred by the statute of limitations of § 2255, Petitioner


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must be able to point to a newly recognized right which is able to be applied

retroactively. Petitioner argues that the decision in United States v. Booker, 125 S.Ct.

738 (2005), creates such a right. However, the decision in Booker is not to be applied

retroactively to cases on collateral review. Humphress v. United States, 398 F.3d 855,

860 (6th Cir. 2005). Because the present petition is before this court on collateral

review, the right recognized in Booker cannot be applied retroactively. As a result, this

petition was filed in an untimely manner and is without merit. Consequently, the petition

is DENIED

       Pursuant to 28 U.S.C. § 2253(c)(1)(b), an appeal of a § 2255 proceeding may not

be taken unless a certificate of appealability was first issued. Furthermore, a certificate

of appealability is issued “only if the applicant has made a substantial showing of the

denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). Because no such showing has

been made, the certificate of appealability is also DENIED.

       In addition, Petitioner filed a motion to reduce the amount of restitution he was

required to pay by this court due to medical conditions which have since developed.

This court enjoys discretion to consider modifying the restitution order as a part of the

sentence in this case, based upon a change in circumstances. While the court is

sensitive to the medical hardships suffered by Mr. Medina and his resulting inability to

work toward the payment of his restitution, the best interests of justice require Mr.

Medina to pay the $8,000 balance which he still owes. However, the current physical

condition of petitioner does support a request for temporary suspension of restitution

payments.



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In the court’s discretion granted by 18 U.S.C. § 3664(k), Petitioner’s restitution

payments are hereby suspended until he is released from incarceration or until he is

able to resume his work assignment, whichever occurs first.

      IT IS SO ORDERED.



                                          S/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE

Dated: October 11, 2005

                              CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record on October 11, 2005, by
electronic and/or ordinary mail.


                                          S/Josephine Chaffee
                                          Secretary/Deputy Clerk




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